Case 3:20-cv-01149-RDM Document 24 Filed 11/12/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

MELISSA CIRULLO, |
Plaintiff, | + CIVIL ACTION
Vv.
NO, 3:20-cv-01149-RDM
GREAT WOLF LODGE, et al., 7
Defendants. fo FILED
: SCRANTON

 

  

      

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, 2021, upon consideration of the parties Joint

AND NOW, on this Bp! day of ,
Motion for Extension of Time to Complete Discovery, it is hereby ORDERED that said Motion is
GRANTED and the Deadlines set forth in the Court’s February 11, 2021 Order are modified as
follows:

1. All fact discovery shall be commenced in time to be completed by March 20, 2021.
2. All potentially dispositive motions shall be filed no later July 30, 2022.

3. Reports from Plaintiff's retained experts shall be due by March 20, 2022.

4. Reports from Defendant's retained experts shall be due by May 16, 2022.

5. Supplementations shall be due by May 30, 2022.

6. All expert discovery shall be commenced in time to be completed by June 36, 2022.

All other provisions of the February 11 2021, Order remain in effect.

  

Hig morale Robery D. Mariani
USDC M-B-Pa;, District Judge

 

 
